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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


UNITED STATES OF AMERICA

VS.                                    4:06-CR-00182 JMM

BRONSHAY DONNEL WINSTON

                                              ORDER

       Defendant has filed a Motion to Reconsider his detention prior to trial. (Docket entry #55.)

For the reasons stated herein, the Court will deny the Motion.

       On May 9, 2006, the Court conducted a detention hearing. (Docket entry #16.) After hearing

testimony from witnesses for the government and the Defendant, the Court found that Defendant’s

serious criminal history, including crimes of violence with firearms, and the nature of the underlying

federal charges, established by clear and convincing evidence that Defendant was a danger to the

community and that no conditions or combination of conditions would reasonably ensure the safety

of the community.

       On May 16, 2006, Defendant filed a Motion to Modify Conditions of Detention in which he

requested that he be admitted to a facility for inpatient drug rehabilitation. (Docket entry #35.)

Following an evidentiary hearing on May 31, 2006, the Court denied Defendant’s Motion. (Docket

entry #40.)

       In Defendant’s current Motion, he states that, “because of changed circumstances,” he can

demonstrate at a hearing that conditions of release may be imposed that will ensure the safety of the

community. Beyond Defendant’s bare assertion, he does not articulate what circumstances have

changed that warrant a hearing. Thus, the Motion will be denied.
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      IT IS THEREFORE ORDERED THAT Defendant’s Motion to Reconsider (docket entry

#55) is DENIED.

      DATED this 11th day of October, 2006.



                                              UNITED STATES MAGISTRATE JUDGE
